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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA




IN RE: KATRINA CANAL BREACHES                 CIVIL ACTION
CONSOLIDATED LITIGATION


                                              NO: 05-4182


PERTAINS TO: LEVEE (07-4444)                  SECTION: "K" (2)




DOCUMENT REMOVED. SEE ORDER DOC. NO. 9431



    DESCRIPTION: Subpart 3, Agreement

    FILED BY: Lauren Hudson

    FILE DATE: 11/19/07
